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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Randy R. Liebich
                                             Plaintiff,
v.                                                         Case No.: 1:19−cv−00242
                                                           Honorable Thomas M. Durkin
Illinois Department Of Corrections, et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 2, 2019:


       MINUTE entry before the Honorable Sunil R. Harjani: This Court's order [52] is
amended as follows: Initial status hearing set for 7/11/19 at 9:15 a.m. in courtroom 1858.
The parties do not need to file a joint status report. Mailed notice. (rbf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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